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 6
                               UNITED STATES DISTRICT COURT
 7                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 8
      JIKIRI BAUTISTA, an individual, ARI
 9    SILVA, an individual;
                                                       NO. 2:18-cv-00757 RSM
10                            Plaintiffs,
             v.                            ORDER GRANTING STIPULATED
11
                                           MOTION FOR CERTIFICATION OF
12    WFS EXPRESS, a Delaware corporation, SETTLEMENT CLASS AND FOR
      CONSOLIDATED AVIATION SERVICES, PRELIMINARY APPROVAL OF CLASS
13    a New York corporation;              ACTION SETTLEMENT

14                            Defendants.

15
            Before the Court is the Parties’ Stipulated Motion for Certification of Settlement Class
16

17   and for Preliminary Approval of Class Action Settlement (the “Stipulated Motion”). The Court

18   has considered the Stipulated Motion, together with its supporting declarations and exhibits.

19          This Court has reviewed the Parties’ Conditional Settlement Agreement (“Agreement”),

20   as well as the files, records, and proceedings to date in this matter. For purposes of this Order,

21   capitalized terms used below shall have the meaning ascribed to them in the Stipulated Motion,
22   unless otherwise defined.
23
            Based on this Court’s review of the Agreement and all of the files, records, and
24
     proceedings herein, the Court concludes, upon preliminary examination, that the Agreement and
25
     ORDER GRANTING STIPULATED MOTION FOR
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 1   Settlement appear fair, reasonable, and adequate, and within the range of reasonableness for

 2   preliminary settlement approval, and that a hearing should and will be held after notice to the
 3   Settlement Class (as defined in Paragraph B below) to confirm that the Agreement and
 4
     Settlement are fair, reasonable, and adequate and to determine whether the Settlement should be
 5
     approved and final judgment entered in this action based upon the Agreement.
 6
             IT IS HEREBY ORDERED THAT:
 7

 8          A.    Preliminary Approval of Proposed Settlement.
 9          The Agreement is preliminarily approved as fair, reasonable, and adequate and within
10   the range of reasonableness for preliminary settlement approval. The Court finds that: (a) the

11   Agreement resulted from extensive arm’s length negotiations; and (b) the Agreement is

12   sufficient to warrant notice of the Settlement to persons in the Settlement Class and a full

13   hearing on the approval of the Settlement.

14          B.    Class Certification For Settlement Purposes Only.

15          Pursuant to Federal Rule of Civil Procedure 23(c), the Court conditionally certifies, for

     settlement purposes only, the following Settlement Class:
16
            All hourly employees at Employers’ Sea-Tac International Airport (“STIA”)
17          facility who worked on the Amazon contract during the period between May 15,
            2016 and November 21, 2020, and who have not disclaimed in sworn testimony
18
            experiencing missed meal or rest periods.
19
            The Court finds that the numerosity, commonality, typicality, and adequacy
20
     requirements of Rule 23(a) are satisfied for settlement purposes. The Court also finds
21
     that the predominance, manageability, and superiority requirements of Rule 23(b)(3) are
22   satisfied for settlement purposes.
23          Accordingly, the Court orders as follows:
24          1. Plaintiffs are appointed Class Representative; and
25
     ORDER GRANTING STIPULATED MOTION FOR
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 1          2. Plaintiffs’ counsel are hereby appointed and designated as counsel for the above-

 2               described Settlement Class and are authorized to act on behalf of the members of the

 3               Settlement Class.

 4          C.    Settlement Hearing.

 5          A final approval hearing (the “Settlement Hearing”) shall be held before the Honorable

     Ricardo S. Martinez on June 3, 2021, at 9:00 a.m. as set forth in the Notice to the Settlement
 6
     Class, to determine whether the Agreement is fair, reasonable, and adequate and should be
 7
     approved. Papers in support of final approval of the Agreement, the incentive award to
 8
     Plaintiffs, and Class Counsel’s application for an award of attorneys’ fees, costs and expenses
 9
     (the “Fee Application”) shall be filed with the Court according to the schedule set forth in
10
     Paragraph M below. The Final Settlement Approval Hearing, and all dates provided for herein,
11
     may, without further notice to the Class, be continued or adjourned by order of this Court. After
12
     the Settlement Hearing, the Court may enter a settlement order and final judgment in accordance
13
     with the Agreement that will adjudicate the rights of the Settlement Class Members with respect
14   to the Released Claims being settled. The scope of the Released Claims shall be: “those arising
15   under the Washington Minimum Wage Act, RCW 49.46 et seq., the Washington Wage Rebate
16   Act, RCW 49.52 et seq., the Washington Industrial Welfare Act, RCW 49.12 et seq., and any
17   claim to attorneys’ fees and costs based on the claims released in this Paragraph, which were
18   affirmatively asserted or could have been asserted in the Lawsuit.

19          D.    Class Notice.

20          Class Notice shall be sent within thirty (30) days following entry of this Order. CMT is

21   appointed as Claims Administrator.

22          E.    Mail Notice.

            The Claims Administrator will provide mail notice to persons in the Settlement Class for
23
     whom the Defendants possess mailing addresses. Mail Notice will be sent via first-class mail to
24
     the most recent mailing address as reflected in reasonably available employment records of the
25
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 1   Defendant. Skip tracing shall be performed by the Claims Administrator for all returned mail.

 2   The Claims Administrator will also provide e-mail notice to Settlement Class Members’ last

 3   known e-mail address, when available.

 4          F.    Findings Concerning Class Notice.

 5          The Court finds that the foregoing program of Class Notice and the manner of its

     dissemination is the best practicable notice under the circumstances and is reasonably calculated
 6
     to apprise the Settlement Class of the pendency of this action and their right to object to or
 7
     exclude themselves from the Settlement Class. The Court further finds that the Class Notice
 8
     program is reasonable, that it constitutes due, adequate, and sufficient notice to all persons
 9
     entitled to receive notice and that it meets the requirements of due process and FRCP 23. The
10
     Court hereby approves the Notice in substantially the same form as that attached as Exhibit Two
11
     to the Declaration of Duncan C. Turner filed in support of the Stipulated Motion.
12
            G.    Administration.
13
            The Court confirms that it is appropriate for the Defendants to provide the information
14   necessary to provide the notice contemplated herein and to administer the settlement, including
15   names, addresses, and personal identifying information.
16          H.    Exclusion from the Settlement Class.
17          Persons in the Settlement Class will possess the right to opt out by sending a written
18   request to a designated address within thirty (30) days after the Notice Mailing Date. All

19   Settlement Class Members who do not opt out in accordance with the terms set forth herein will

20   be bound by all determinations and judgments in this action. Exclusion requests must contain

21   the person’s name, address, telephone number, and signature, and must include the following

22   statement: “I request to be excluded from the class settlement in Bautista v. WFS Express, Inc.,

     No. 2:18-cv-00757 RSM.” The Claims Administrator will retain a copy of all requests for
23
     exclusion. Not later than 15 days from the exclusion deadline, the Claims Administrator shall
24
     file with the Court a declaration that provides copies of all exclusion requests received.
25
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 1          I.       Objections and Appearances.

 2          Any person in the Settlement Class who has not timely submitted a valid request for

 3   exclusion from the Settlement Class, and thus is a Settlement Class Member, may object to the

 4   proposed Settlement and appear at the Final Approval Hearing to argue that the proposed

 5   Settlement should not be approved and/or to oppose the application of Class Counsel for an

     award of attorneys’ fees and the incentive award to the named Plaintiffs.
 6
                    1. In order to object to the Settlement, a Settlement Class member must make
 7
                       any objection in writing and file it with the Court and serve on all Parties not
 8
                       later than thirty (30) days after the Notice Mailing Date. The objection must
 9
                       include the person’s name, address, telephone number, and signature, and
10
                       must set forth, in clear and concise terms, the legal and factual arguments
11
                       supporting the objection. Any objections that are not timely filed and mailed
12
                       shall be forever barred.
13
                    2. In order to speak at the hearing, a Settlement Class member also must file with
14                     the Court and serve on all Parties a Notice of Intention to Appear at the
15                     Fairness Hearing with the Court no later than thirty (30) days after the Notice
16                     Mailing Date. The Notice must include the person’s name, address, telephone
17                     number, and signature.
18

19          J.       Further Papers In Support Of Settlement And Fee Application.

20          Class Counsel’s Motion for Attorneys’ Fees and the Motion for Final Approval shall

21   be filed within thirty (30) days of the Exclusion/Objection Deadline as provided in Paragraph

22   M.

23

24

25
     ORDER GRANTING STIPULATED MOTION FOR
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 1          K.      Effect of Failure to Approve the Agreement.

 2          In the event the Agreement is not approved by the Court, or for any reason the Parties

 3   fail to obtain a Final Judgment as contemplated in the Agreement, or the Agreement is

 4   terminated pursuant to its terms for any reason, then the following shall apply:

 5                 1. All orders and findings entered in connection with the Agreement shall

                       become null and void and have no further force and effect, shall not be used or
 6
                       referred to for any purposes whatsoever, and shall not be admissible or
 7
                       discoverable in any other proceeding;
 8
                   2. The conditional certification of the Settlement Class pursuant to this Order
 9
                       shall be vacated automatically and void; no doctrine of waiver, estoppel, or
10
                       preclusion shall be asserted in any litigated certification proceedings in the
11
                       Action;
12
                   3. The Agreement and its existence shall be inadmissible to establish any fact or
13
                       any alleged liability of the Defendant for the matters alleged in this action or
14                     for any other purpose; and
15                 4. Nothing contained in this Order is, or may be construed as, any admission or
16                     concession by or against the Defendant or Plaintiffs on any point of fact or
17                     law.
18          L.    Stay/Bar Of Other Proceedings.

19          All proceedings in this action are stayed until further order of the Court, except as may

20   be necessary to implement the terms of the Settlement. Pending final determination of

21   whether the Settlement should be approved, Plaintiffs, all persons in the Settlement Class and

22   persons purporting to act on their behalf are enjoined from commencing or prosecuting (either

     directly, representatively, or in any other capacity) against any of the Released Parties any
23
     action, arbitration, or proceeding in any court, arbitration forum, or tribunal asserting any of
24
     the Released Claims as defined in the Agreement.
25
     ORDER GRANTING STIPULATED MOTION FOR
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 1          M.    Timeline.

 2
                             ACTION                                            DATE
 3
          Preliminary Approval Order Entered              At the Court’s Discretion
 4
                                                          Within 30 days following entry of the
 5        Notice Mailing Date
                                                          Preliminary Approval Order
 6
          Exclusion/Objection Deadline                    30 days after Notice Mailing Date
 7
          Claims Administrator’s Filing of Exclusion      15 days after Exclusion/Objection Deadline
 8        Requests
 9        Plaintiffs’ Counsel’s Fee Motion Submitted      30 days after Exclusion/Objection Deadline
10
          Final Approval Brief and Response to
11                                                        30 days after Exclusion/Objection Deadline
          Objections
12        Final Approval Hearing / Noting Date            Between 100-140 days of entry of the
                                                          Preliminary Approval Order
13

14        Final Approval Order Entered                    At the Court’s Discretion

15

16        The Final Hearing is scheduled on June 3, 2021 at 9:00 a.m. in Judge Martinez’s courtroom

17   on the 13th floor at the United States Courthouse, 700 Stewart Street, Seattle, WA 98101. Should

18   this hearing be rescheduled or held telephonically, the Court will direct the parties to send out

19   further notice.
20   IT IS SO ORDERED.
21
            DATED this 1st day of February, 2021.
22

23

24
                                                   A
                                                   RICARDO S. MARTINEZ
                                                   CHIEF UNITED STATES DISTRICT JUDGE
25
     ORDER GRANTING STIPULATED MOTION FOR
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     FOR PRELIMINARY APPROVAL OF CLASS
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